                                                                      E-FILED; Anne Arundel Circuit Court
     Case 1:20-cv-01505-SAG Document Docket:
                                     3 Filed5/29/2020
                                              06/08/206:05Page  1 of 21
                                                           PM; Submission: 5/29/2020 6:05 PM




                      IN THE CIRCUIT COURT OF MARYLAND
                          FOR ANNE ARUNDEL COUNTY

                                               )
STUDENT “C”                                    )
c/o Adelphi Law                                )
2306 Wineberry Terrace                         )
Baltimore, MD 21209                            )
                                               )     Civil Action No. C-02-CV-20-001272
        Individually, and on behalf of         )
       similarly-situated persons,             )
                as Plaintiff,                  )
                                               )
        v.                                     )
                                               )
ANNE ARUNDEL COUNTY                            )
        COMMUNITY COLLEGE,                     )
Heritage Office Complex                        )
2660 Riva Road 4th Floor                       )
Annapolis, MD 21401                            )
                                               )
        and                                    )
                                               )
COUNTY EXEC. STEUART PITTMAN, )
        in his official capacity as Executive, )
Offices o the County Executive                 )
44 Calvert Street                              )
Annapolis, MD 21041                            )
                                               )
                                Defendants. )
                                               )

                            CLASS ACTION COMPLAINT

       Plaintiff Student “C”, by and through undersigned counsel, and on their own

behalf and on behalf of those similarly situation, for their Class Action Complaint against

Anne Arundel County Community College (“AACC”) and the Honorable Anne Arundel

County Executive Steuart Pittman (“Executive Pittman”) (hereinafter, collectively,

“Defendants”), seeking damages and declaratory and injunctive relief, hereby allege as

follows:




                                             1
      Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 2 of 21



                                     NATURE OF THE CASE

                This action is a class-action suit for damages and equitable relief under the

common laws of the State of Maryland and Section § 5-5A-02, et seq., of the Maryland

Code, Courts and Judicial Proceedings Title, seeking legal remedy and equitable relief

for the Defendants' breaches and takings thereof, related to the Defendants' refusal to

fully refund and rebate tuition, costs, and fees, for students affected by the Defendants'

decision to switch students from in-person to online classes and close access to facilities,

under orders related to the COVID19 pandemic.

                Plaintiff acknowledges at the outset that the Defendants acted in the best

interests of the safety of Plaintiffs and the Class, albeit in an under-prepared and

haphazard manner, by switching students to online education and closing access to

facilities maintained by Defendants; however, given that Defendants are unfairly

retaining benefits of the bargains it made with the Plaintiff and the Class, and likely

qualifies for relief under the federal Higher Education Emergency Relief Fund under

Section 18004(a)(1) and 18004(c) of the Coronavirus Aid, Relief, and Economic Security

(CARES) Act for any unreimbursed impact of the pandemic, the shift of the economic

burden of the breach of contract onto Plaintiff and the Class is unfair, unjust, and a

breach of the public trust that will affect the Plaintiff and Class for years, through

unjustified debt, reduced value of their collegiate experience, and in causing them to

distrust the very institutions they were supposed to be nurtured by.

                                               PARTIES

                Plaintiff Student “C” is a resident of the State of Maryland and a full-time

student of AACC.1


1
           Plaintiff will file a Motion for Protective Order seeking to allow them to proceed anonymously,
or at least with some restrictions on disclosure of personal information, if no agreement can be reached
with Defendants on this issue. The Plaintiff will be referred to by the masculine pronoun hereinafter,
without any admission as to gender or identification.



                                                     2
      Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 3 of 21



              Defendant Anne Arundel County Community College is an institution of

higher learning organized as part of the government of Anne Arundel County.

              Defendant the Hon. County Executive Steuart Pittman is the Anne

Arundel County Executive and is sued here in his official capacity.


                              JURISDICTION AND VENUE

              Plaintiff brings this action against Defendants in Circuit Court of

Maryland pursuant to Maryland Code Annotated, Courts and Judicial Proceedings, “Trial

Courts of General Jurisdiction,” § 1-501 (2006), which grants “full common-law and

equity powers and jurisdiction in all civil and criminal cases within its county, and all the

additional powers and jurisdiction conferred by the Constitution and by law,” to this

Court.

              Actions for declaratory judgment are authorized in this Court pursuant to

Md. Code Ann., “Declaratory Judgment,” (2006) (“DJA”).

              The Defendants waived sovereign immunity under Maryland Code, 6.

Courts and Judicial Proceedings, Section § 5-5A-02, et seq., this suit being brought in

contact against officers and units of a unit local government of the State within one year

the claim arose.

              On information and belief, this action is properly brought in Circuit Court

because the amount in controversy exceeds $5,000.

             Venue is proper in this Court because, pursuant to Maryland Code

Annotated, Courts and Judicial Proceedings, “Trial Courts of General Jurisdiction,” § 6-

201 and on information and belief, the Defendants carry on “on a regular business” in the

Circuit in which this case is filed.




                                              3
      Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 4 of 21




                              GENERAL ALLEGATIONS


            Defendant AACC is an instrument of the government of Anne Arundel

County.

            Plaintiff C is a student at AACC (the “School”).

            Plaintiff decided to attend AACC in part because of it's facilities for in-

person education, opportunity for one-on-one in-person interaction with professors,

access to extra-curricular activities, cultural enrichment, networking opportunities, and

the like.

            Thus, the School's website states that classes identified as face-to-face as

classes that “meet in a classroom. An instructor provides a lecture or leads a discussion in

person and you see your fellow students face-to-face.” https://www.aacc.edu/apply-and-

register/credit-application/register-for-credit-classes/ways-to-take-a-course/ (last

accessed May 24, 2020 9:50PM).

            The School's website further states that “[c]ollege life isn't only about

books and exams. We want you to enjoy this time by checking out a concert on campus,

viewing an art show or taking a leadership role in one of our dozens of student

organizations. Redefine your life through an AACC education, while making friendships

and memories that will last a lifetime.” https://www.aacc.edu/campus-life/ (last accessed

May 24, 2020, 10:03PM).

            Thus, the Defendants advertise on the School's websites that part of the

educational experience at the School includes, inter alia, interaction with faculty and

other students; access to facilities such as computer labs, study areas, libraries,

laboratories, exercise facilities and the like; events, formal and informal groups; offerings

of arts, music, and cultural programs; and in general social development and personal and

professional networking opportunities.




                                              4
        Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 5 of 21




               Although AACC offers online education, Plaintiff each elected not to

attend AACC online because it would have meant largely forgoing these highly valuable

additional benefits of in-person attendance at the School.

               As part of their attendance at the School, Plaintiff and Class Members are

required by pay tuition in full, either in full or under a payment plan, prior to each

semester.

               Plaintiff C's spring semester at AACC began on or about January 22,

2020.

               Plaintiff C paid tuition for the Spring Semester in or about December

2019 and January 2020, in the amount of $1,386.00 for in-person attendance at the

School (the Plaintiff's “In-Person Tuition”), at the Maryland resident rate, plus some

approximately $175.00 for the School's mandatory fees, for a total tuition, costs, and fees

charged of approximately $1,561.00 for the Spring Semester.


               On information and belief, Plaintiff C paid approximately the same In-

Person Tuition as the majority of the Tuition Class Members, and similar Mandatory

Fees as the Mandatory Fees Class.


               On March 14, 2020, the Defendants ordered classes be suspended until

further notice.


               Classes were then suspended until April 5, 2020, e.g., for the schedule

spring break plus two additional weeks, missing some ten days of scheduled classes, with

no make-up of those days.


               On or about March 14, 2020, Plaintiffs and Class Members were told that

School's campuses would be closing.




                                               5
        Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 6 of 21




             As of that date, and to the present, Plaintiff and Class Members did not

and do not have access to the School's physical facilities, including the aforementioned

classrooms, study halls, libraries, computer and other labs, athletic facilities, residence

halls, cafeterias, faculty and staff offices, on-campus health facilities, and the like.


             As of the date of this filing, the Defendants have not compensated

Plaintiff and the Class Members for the decreased value of their tuition, when the

Defendants converted the Plaintiff's' and the Class's rich in-person educational experience

to something worth less than what the students bargained and paid for, for the missed

days of classes, for interest accrued or paid on loan amounts that are not for tuition

actually received, for mandatory fees that were paid for access to School's facilities, and

the like.

                           CLASS ACTION ALLEGATIONS

             Pursuant to Maryland Rule 2-231, Plaintiff brings this action on behalf of

themselves and similarly-situated persons defined as:

        The Tuition Class: All persons who paid tuition for in-person classes for

         themselves or on behalf of a student at the School for the Spring Semester of

         2020, but who had their in-person on-campus educational experience converted to

         online education on or around March 14, 2020, for the remainder of the Spring

         Semester.

        The Mandatory Fees Class: All persons who paid the School mandatory fees for

         in-persons education for themselves or on behalf of a student at School for the

         Spring Semester of 2020, but who had their in-person on-campus educational

         experience converted to online education on or around March 14, 2020, for the




                                               6
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 7 of 21



       remainder of the Spring Semester, and who have not received full refunds for the

       loss in value of those Fees from Defendants.

            Excluded from the Class are the officers, directors, and employees of

Defendants, the legal representatives, heirs, successors, and assigns of Defendants, and

all judges who may ever adjudicate this case.

            This action is brought as a class action and may properly be so maintained

pursuant to the provisions of the Maryland Rules. Plaintiff reserves the right to modify

the Class definition and the class period based on the results of discovery and or as

otherwise appropriate.

            Maryland Rule 2-231, “Class actions,” requires that “[o]ne or more

members of a class may sue or be sued as representative parties on behalf of all only if

(1) the class is so numerous that joinder of all members is impracticable, (2) there are

questions of law or fact common to the class, (3) the claims or defenses of the

representative parties are typical of the claims or defenses of the class, and (4) the

representative parties will fairly and adequately protect the interests of the class.”

            This Class Action satisfies the “numerosity” requirement of Rule 2-231, in

that the potential members of the Class are so numerous that their individual joinder is

impracticable. The precise numbers and addresses of members of the Class are unknown

to the Plaintiff, but the School is reported to have some 29,894 students enrolled, who are

all likely Class Members, either as members of the Tuition Class or the Fees Class. The

precise number of persons in the Class and their identities and addresses may be

ascertained from Defendants' records.




                                              7
       Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 8 of 21



            The present suit satisfies the “commonality of interest” requirement in the

questions of law and fact involved affecting the members of the Class. These common

legal and factual questions presented by this Class Action include:

       Whether the factual allegations are true.

       Whether online learning removed from campus educational, social, and

        professional interactions is worth the same as in-person, in-classroom education

        in a campus environment designed to cater to students' educational, social, and

        professional needs;

       Whether the Defendants breached their express, implied, or quasi-contractual

        agreements with Plaintiff and the Class through acts or omissions, including, but

        not limited to, by failing to provide in-person, in-classroom education after March

        14, 2020, and by not compensating the Tuition Class for the difference in value

        between said in-person, in-classroom education and the online classes that have

        been offered;

       Whether or not those same acts and omissions constitute a takings under the

        Constitutions of the United States of America and the State of Maryland;

       Whether the Defendants breached their express, implied, or quasi-contractual

        agreements with Plaintiff and the Mandatory Fees Class through acts or

        omissions, including, but not limited to, by failing to provide access to facilities

        that the Mandatory Fees were all or in part intended to cover after March 14,

        2020, and by not compensating the Mandatory Fees Class in whole or in part for

        the actual value received by Plaintiff and the Mandatory Fees Class for those

        Mandatory Fees;



                                              8
       Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 9 of 21



       Whether or not those same acts and omissions constitute a takings under the

        Constitutions of the United States of America and the State of Maryland;

       Whether or not class certification is appropriate in this case;

       Whether Class Members are entitled to declaratory, equitable, and or injunctive

        relief; and

       What compensatory damages or other relief are appropriate to award for Plaintiff,

        the Tuition Class, and the Mandatory Fees Class.

             Plaintiff's claims are “typical” of the claims of the members of the Class

because Plaintiff represent students of the School during the relevant time, and is

therefore fully affected by all events described herein. Plaintiff and all members of the

Class have therefore similarly suffered harm arising from Defendants' acts and omissions

described herein.

             Plaintiff is an adequate representative of the Class because their interests

do not conflict with the interests of the members of the Class they seek to represent.

Plaintiff intends to prosecute this action vigorously, in the public interest, with the aim of

protecting rights of students from externalization of foreseen and unforeseen burdens

onto them from educational institutions, who are the proper parties to bear such burden.

Furthermore, Plaintiff has retained committed and experienced counsel to prosecute their

claims vigorously. Plaintiff therefore will fairly and adequately protect the interests of

the members of the Class.

             This suit may therefore properly be maintained as a class action pursuant

to Maryland Rule 2-231, as all of the required factors of numerosity, common questions

of fact and law, typicality and adequacy are present. Moreover, the conduct by



                                              9
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 10 of 21



Defendants upon which this suit is based has generally applicable impacts on the Plaintiff

and the Class as a whole, thereby making declaratory and or injunctive relief proper.

                                      COUNT I
                                 Breach(es) of Contract
                (On Plaintiff's own and on behalf of the Tuition Class)

            Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

            The Plaintiff and the Defendants had an express or implied contract that

called for the Plaintiff to fully pay demanded In-Person Tuition in exchange for

Defendants' provision of in-person, in-classroom education in the School's campus

environments designed to cater to Plaintiff's and the Class's educational, social, and

professional needs.

            The Defendants breached that express or implied contract by acts or

omissions, including, but not limited to, by failing to provide said in-person, in-

classroom education, by converting Plaintiff's and the Class's education to one that was

solely online without access to the School's campuses and facilities, by refusing to refund

the difference in value between the in-person, in-classroom education and the tendered

online education, and by otherwise failing to provide Plaintiff and the Class with the

benefit of their paid-for bargain.

            The Plaintiff and members of the Tuition Class have suffered damage as a

direct and proximate result of the Defendants' breaches, including by being deprived of

the benefit of the in-person, in-classroom education in a campus environment designed to

cater to Plaintiff's and the Class's educational, social, and professional needs, by incurring




                                             10
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 11 of 21



interest on loans for tuition that was paid for but not delivered, and by loss of value of the

In-Person Tuition that the Plaintiff and Class paid for.

             Plaintiff and the Tuition Class Members received approximately fifty-two

(52) days of in-person, in-classroom education at the School for the Spring Semester

before classes were moved online; Plaintiffs and Class Members demand that they be

awarded as damages the value of missed days of classes, as well as the entire remainder

of their tuition, rebated in an amount of no less than fifty percent (50%), for the

remainder of the Spring Semester, on a pro-rata basis, or an amount to be proven at trial.

                                       COUNT II
                                  Breach(es) of Contract
             (On Plaintiff's own and on behalf of the Mandatory Fees Class)

             Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

             The Plaintiff and the Defendants had an express or implied contract that

called for the Plaintiff to fully pay Mandatory Fees in exchange for Defendants' provision

of various aspects of on-campus education in the School's campuses, which are designed

to cater to Plaintiff's and the Class's educational, social, and professional needs.

             The Defendants breached that express or implied contract by acts or

omissions, including, but not limited to, by failing to provide that on-campus educational

experience, by refusing to refund all or part of the Mandatory Fees, despite the fact that

the access to the facilities or services were no longer offered, and by otherwise failing to

provide Plaintiff and the Class with the benefit of their paid-for bargain.

             The Plaintiff and members of the Mandatory Fees Class have suffered

damage as a direct and proximate result of the Defendants' breaches, by not having



                                              11
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 12 of 21



accessed to facilities and services that they paid for, by incurring interest on loans for

tuition that was paid for but not delivered, and in general by loss of value of the

Mandatory Fees that the Plaintiff and Class paid for.

            Plaintiff and the Mandatory Fees Class Members received approximately

fifty-two (52) days of in-person, in-classroom education at the School for the Spring

Semester before campuses were closed; Plaintiff and Class Members demand that they be

awarded as damages the remainder of their Mandatory Fees rebated in full for the

remainder of the Spring Semester, on a pro-rata basis, less any rebates already given, or

an amount to be proven at trial.

                                     COUNT III
                    Quasi-Contract Claim – Unjust Enrichment
                (On Plaintiff's own and on behalf of the Tuition Class)

            Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

            The Plaintiff and the Tuition Class paid tuition for the Spring Semester for

in-person education at AACC.

            On or about March 14, 2020, the Defendants converted all remaining in-

person, in-classroom education to online learning for the remainder of the Spring

Semester.

            Thus, the Plaintiff and the Tuition Class only received some fifty-two (52)

days of what they paid for, e.g., in-person in-classroom education with direct contact

with their professors and fellow students.




                                              12
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 13 of 21



              The in-person in-classroom education is more valuable and rewarding

than online only learning, in addition to not being what the Plaintiff and the Tuition Class

wanted from their AACC experience.

              The Defendants expressly or constructively know and appreciate this, as

evidenced by their touting of the benefits of in-person education across the websites of

the School, as noted above.

              It is therefore inequitable for Defendants to retain the full value of the

remaining In-Person Tuition.

              Plaintiff and Tuition Class Members therefore demand that they be

awarded the value of missed days of classes, as well as the remainder of their tuition,

rebated in an amount of no less than fifty percent (50%), for the remainder of the Spring

Semester, on a pro-rata basis, or an amount to be proven at trial.

                                        COUNT V
                       Quasi-Contract Claim – Unjust Enrichment
              (On Plaintiff's own and on behalf of the Mandatory Fees Class)

              Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

              The Plaintiff and the Mandatory Fees Class paid mandatory fees for the

Spring Semester for in-person education at AACC.

              On or about March 14, 2020, the Defendants closed all campuses,

eliminating access to the facilities and services provided under the Mandatory Fees.

              Thus, the Plaintiff and the Mandatory Fees Class only received some fifty-

two (52) days of what they paid for, e.g., the items covered by the Mandatory Fees –

access to libraries, exercise facilities, labs, and the like.



                                                13
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 14 of 21



              That access has value, as demonstrated by the fact that the Defendants

charge for it.

              The Defendants expressly or constructively know and appreciate this, as

evidenced by their charging the Plaintiff and the Mandatory Fees Class these fees.

              It is therefore inequitable for Defendants to retain the full value of the

remaining Mandatory Fees.

              Plaintiff and Mandatory Fees Class Members therefore demand that they

be awarded the entire remainder of their Spring Semester Mandatory Fees, less any

rebates given, on a pro-rata basis, or an amount to be proven at trial.


                                       COUNT VI
                                 Unconstitutional Takings
                  (On Plaintiff's own and on behalf of the Tuition Class)

              Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

              Under the Constitution of the United States of America, Amendments V

and XIV, the Maryland Constitution, Article III, Section 40, as well as the common-law

of the State of Maryland, the Defendants may not take vested tangible or intangible

property rights of citizens without just or fair compensation.

              The Plaintiff and the Tuition Class paid tuition for the Spring Semester for

in-person education at the School, which gave them a property right in that same

education.

              On or about March 14, 2020, the Defendants converted all remaining in-

person, in-classroom education to online learning for the remainder of the Spring

Semester.


                                               14
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 15 of 21



             Thus, the Plaintiff and the Tuition Class only received some fifty-two (52)

days of what they paid for, e.g., in-person in-classroom education with direct contact

with their professors and fellow students.

             The in-person in-classroom education is more valuable and rewarding

than online only learning, in addition to not being what the Plaintiff and the Tuition Class

wanted from their AACC experience.

             The Defendants expressly or constructively know and appreciate this, as

evidenced by their touting of the benefits of in-person education across the websites of

the School, as noted above.

             The conversion of the Plaintiff's and the Tuition Class's education from in-

person, in-classroom education into exclusively online education is therefore an

unconstitutional taking of the Plaintiff's and the Tuition Class's property, for which they

have received no compensation.

             Plaintiff and Tuition Class Members therefore demand that they be

awarded the value of their missed classes, plus the remainder of their tuition, rebated in

an amount of no less than fifty percent (50%), for the remainder of the Spring Semester,

on a pro-rata basis, or an amount to be proven at trial, as just and fair compensation for

this unconstitutional taking.

                                      COUNT VII
                                Unconstitutional Takings
             (On Plaintiff's own and on behalf of the Mandatory Fees Class)

             Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.




                                             15
     Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 16 of 21



              Under the Constitution of the United States of America, Amendments V

and XIV, the Maryland Constitution, Article III, Section 40, as well as the common-law

of the State of Maryland, the Defendants may not take vested tangible or intangible

property rights of citizens without just or fair compensation.

              The Plaintiff and the Mandatory Fees Class paid mandatory fees for

access to the School's facilities for the Spring Semester at the School, which gave them a

property right in those same housing and meal plans.

              On or about March 14, 2020, the Defendant closed all campuses,

eliminating access to the School's facilities paid for by the Plaintiff and the Mandatory

Fees Class.

              Thus, the Plaintiff and the Mandatory Fees Class only received some fifty-

two (52) days of what they paid for, e.g., the items covered by the Mandatory Fees –

access to libraries, exercise facilities, labs, and the like.

              That access has value, as demonstrated by the fact that the Defendants

charge for it.

              The Defendants expressly or constructively know and appreciate this, as

evidenced by their charging the Plaintiff and the Mandatory Fees Class these fees.

              Plaintiff and Mandatory Fees Class therefore demand that they be awarded

the entire remainder of their Spring Semester Mandatory Fees, less any rebates given, on

a pro-rata basis, or an amount to be proven at trial, as just and fair compensation for these

unconstitutional takings.




                                                16
       Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 17 of 21



                                       COUNT VIII
                                     Declaratory Relief

             Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

             There exists a justiciable controversy between the Plaintiff, the Class, and

the Defendants, and litigation has become necessary to address these controversies and

prevent further harm to Plaintiff and the Class.

             The Plaintiff seek declaratory relief to relieve uncertainty as to their legal

rights in relation to their status as students at AACC, and a declaration by this Court will

likely help to terminate the uncertainty and or the need for further proceedings.

             Plaintiff request that this Court, pursuant to the DJA, Maryland Annotated

Code, Courts And Judicial Proceedings, Courts Of General Jurisdiction, Subtitle 4 -

Declaratory Judgment, §§ 3-401, 3-406, and or 3-409, and 3-410, declare:

        That online learning removed from campus educational, social, and professional

         interactions is not worth the same as in-person, in-classroom education in a

         campus environment designed to cater to students' educational, social, and

         professional needs;

        That the Defendants breached their express, implied, or quasi-contractual

         agreements with Plaintiff and the Class through acts or omissions, including, but

         not limited to, by failing to provide in-person, in-classroom education after March

         14, 2020, and by not compensating the Tuition Class for missed classes and the

         difference in value between said in-person, in-classroom education and the online

         classes that have been offered;




                                              17
        Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 18 of 21



         That these same acts and omissions constitute a takings under the Constitutions of

          the United States of America and the State of Maryland;

         That the Defendants breached their express, implied, or quasi-contractual

          agreements with Plaintiff and the Mandatory Fees Class through acts or

          omissions, including, but not limited to, by failing to provide access to facilities

          that the Mandatory Fees were all or in part intended to cover after March 14,

          2020, and by not compensating the Mandatory Fees Class in whole or in part for

          the actual value received by Plaintiff and the Mandatory Fees Class for those

          Mandatory Fees;

         That those same acts and omissions constitute a takings under the Constitutions of

          the United States of America and the State of Maryland;

         That class certification is appropriate in this case;

         And that relief should be rewarded to the Plaintiff and the Class, including

          compensatory damages and costs under Section 3-410 of the DJA.

                                          COUNT IX
                                        Injunctive Relief

               Plaintiff repeats and incorporates herein by reference the allegations in the

preceding paragraphs of this Complaint, as if set forth fully herein.

               The Plaintiff and the Class have contractual, quasi-contractual, and

constitutional rights in their paid-for tuition, fees, and costs at the School.

               The rights of the Plaintiff and the Class Members in obtaining refunds,

rebates, or discounts outweigh those of the Defendants in wrongfully holding the

Plaintiff's and Class's monies.




                                                18
       Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 19 of 21



               If the acts Plaintiff seek to enjoin happen, Plaintiff and the Class Members

will suffer irreparable harm by being forced out of school, having permanent records that

they cannot easily erase, and by otherwise suffering injuries such as loss of college-aged

development for which there is no clear and easily-accessible legal remedy.

               The public interest is severed in upholding contractual rights, in

preventing or requiring compensation for governmental takings, and in general in

supporting students as they develop into fully-formed and educated citizens.

               Plaintiff therefore request that this Court permanently enjoin the

Defendants from the following conduct:

         Retaliation of any kind against the Plaintiff, any future named Plaintiff, or any

          members of the Class for participating in this lawsuit, as related to their

          enrollment at the School or otherwise;

         From charging Plaintiff and any Member of the Tuition Class full In-Person

          Tuition for the Summer of 2020 and onwards for so long as the AACC is not in

          fact offering face-to-face, in-person classroom education;

         From charging Plaintiff and any Member of the Mandatory Fees class mandatory

          fees for items that the Plaintiff and the Mandatory Fees Class members do not in

          fact have access to for the Summer of 2020 and onwards for so long as AACC is

          not in fact offering on-campus education.

                                        JURY DEMAND

          Plaintiff hereby request a jury trial for all issues triable by jury including, but not

limited to, those issues and claims set forth in any amended complaint or consolidated

action.



                                                19
   Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 20 of 21



                                REQUEST FOR RELIEF

      WHEREFORE, the Plaintiff respectfully requests that the Court:


      A.     Certify the proposed Class and/or Subclass, appoint Plaintiff and their

             counsel to represent the proposed Class, and require notice to the proposed

             Class(es) to be paid by Defendants.


      B.     Award monetary damages, restitution, or disgorgement to Plaintiff

             Student C in an amount no less than $570.00, and to the Class to the

             maximum extent permitted by law and as identified under the quantum

             theories herein;


      C.     Award to Plaintiff reasonable compensation for serving as a class

             representative;


      D.     Enter declaratory relief as requested in Count VIII, and award costs

             thereof;


      E.     Permanently enjoin Defendants from the conduct outlined in the Count

             IX;


      F.     Award pre- and post- judgment interest at the legal rate; and


      G.     Grant such other and further relief as the Court deems just and proper.


DATED: May 29, 2020

RESPECTFULLY SUBMITTED,

                                    Edward N. Griffin, Esq.
                                    CPF No. 0412140304
                                    ADELPHI LAW
                                    2306 Wineberry Terrace
                                    Baltimore, MD 21209


                                          20
Case 1:20-cv-01505-SAG Document 3 Filed 06/08/20 Page 21 of 21



                         Tel./Fax 888.367.0383
                         griffin@adelphilaw.com


                         Attorney for Plaintiff

                         /s/Edward Griffin/s/
                         Edward N. Griffin




                               21
